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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

DENISE MILLER,
Plaintiff,
VS. Civil Action No. ADC-18-2538

TRIDENT ASSET MANAGEMENT, et al.,

Defendants.

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ORDER

In accordance with the accompanying Memorandum Opinion, it is this Ain day of
September, 2019, by the United States District Court for the District of Maryland, ORDERED as
follows:
1. Defendant’s Motion for Summary Judgment (ECF No. 127) is hereby GRANTED;
ioe In the alternative, as to Defendant Trident Asset Mangement, LLC., Plaintiff's Complaint

is DISMISSED with prejudice;
a. Defendant’s Motion for Leave to Submit Audio Recording as Exhibit 9 to Its Motion for
Summary Judgment (ECF No. 129) is hereby DISMISSED as moot;
4. The Motion to Strike Exhibits (ECF NO. 139) is GRANTED.
5. The Clerk shall transmit copies of the foregoing Memorandum Opinion and Order to

counsel of record.

(

A. David Copperthite
United States Magistrate Judge
